Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 1 of 6
Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 2 of 6
Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 3 of 6
Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 4 of 6
Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 5 of 6
Case 1:09-cr-00110-WHA-WC Document 79 Filed 01/22/10 Page 6 of 6
